
PER CURIAM.
I,Rehearing denied. Relator has now filed and fully litigated five' applications for post-conviction relief in the State Courts. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana’s post-conviction procedures envision the filing of second or successive petitions only under the narrow circumstances provided for in La.C.Cr.P. art. 930.4. " Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against granting relief on successive filing mandatory. Relator’s claims are now all fully litigated in state collateral proceedings in accordance with La.C.Cr.P. art. 930.6, and the denial of relief has become final. Hereafter, unless relator can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review.
